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                                                                          CHARLES H. CHEVALIER
                                                                          Director

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                                                      February 4, 2025

 VIA ECF

 Honorable Cathy L. Waldor, U.S.M.J.
 United States District Court
 District of New Jersey
 Martin Luther King Building & U.S. Courthouse
 50 Walnut Street
 Newark, New Jersey 07102

        Re:      In re Selenious Acid Litigation,
                 No. 2:24-cv-07791-BRM-CLW (Consolidated)

 Dear Judge Waldor:

        We, along with Sterne, Kessler, Goldstein & Fox P.L.L.C., represent Plaintiff American
 Regent, Inc. in the above-referenced matter. With counsel for all Defendants, we submit the
 attached Stipulation and Proposed Amended Scheduling Order for the Court’s Consideration. If
 Your Honor finds this document acceptable, the parties respectfully request that Your Honor
 “So-Order” the Proposed Schedule and direct its entry on the docket.

        We thank the Court for its time and assistance in this matter. If the Court would like to
 discuss this matter with the parties, the parties will make themselves available at the Court’s
 convenience.




                                                      Respectfully submitted,

                                                      s/ Charles H. Chevalier
                                                      Charles H. Chevalier

 Attachment
 cc: Counsel of record via ECF and e-mail
